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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-147V
                                         UNPUBLISHED


    LISA M. GILBERTSON,                                       Chief Special Master Corcoran

                         Petitioner,                          Filed: May 6, 2020
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Damages Decision Based on Proffer;
    HUMAN SERVICES,                                           Tetanus Diphtheria acellular
                                                              Pertussis (Tdap) Vaccine; Shoulder
                        Respondent.                           Injury Related to Vaccine
                                                              Administration (SIRVA)


Kate Gerayne Westad, SiebenCarey, Minneapolis, MN, for petitioner.

Adriana Ruth Teitel, U.S. Department of Justice, Washington, DC, for respondent.


                                DECISION AWARDING DAMAGES1

      On January 29, 2019, Lisa Gilbertson filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of a Tetanus, Diphtheria, acellular Pertussis
(“Tdap”) vaccine administered on February 4, 2016. Petition at 1. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

       On April 13, 2020, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for her SIRVA. On May 5, 2020, Respondent filed a proffer on award
of compensation (“Proffer”) indicating Petitioner should be awarded $165,850.07.
Proffer at 1. In the Proffer, Respondent represented that Petitioner agrees with the

1 Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the decision will be available to anyone with access
to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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proffered award. Id. Based on the record as a whole, I find that Petitioner is entitled to
an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $165,850.07 (representing compensation in the amount of
$162,500.00 for pain and suffering, $1,514.05 for past lost wages, and $1,836.02
for past unreimbursed expenses) in the form of a check payable to Petitioner.
This amount represents compensation for all damages that would be available under §
15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

    LISA M. GILBERTSON,

                          Petitioner,
                                                        No. 19-147V
          v.                                            Chief Special Master Corcoran (SPU)
                                                        ECF
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                          Respondent.


                RRESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Compensation for Vaccine Injury-Related Items

          On April 10, 2020, respondent filed a Rule 4(c) Report conceding that petitioner is

entitled to vaccine compensation for her Shoulder Injury Related to Vaccine Administration

(“SIRVA”) injury suffered following receipt of a Tdap vaccination on February 4, 2016. A

Ruling on Entitlement was issued on April 13, 2020.

          Based upon the evidence of record, respondent proffers that petitioner should be awarded

$165,850.07. 1 This award is comprised of pain and suffering ($162,500.00), past lost wages

($1,514.05), and past unreimbursed expenses ($1,836.02), and represents all elements of

compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 2      Petitioner

agrees.




1
 This proffer does not include any award for attorneys’ fees and costs that may be awarded
pursuant to 42 U.S.C. § 300aa-15(e).
2
  Should Petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief.


                                                  1
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II.       Form of the Award

          Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $165,850.07 in the form of a check payable to petitioner. 3

Petitioner agrees.

                                                        Respectfully submitted,

                                                        JOSEPH H. HUNT
                                                        Assistant Attorney General

                                                        C. SALVATORE D’ALESSIO
                                                        Acting Director
                                                        Torts Branch, Civil Division

                                                        CATHARINE E. REEVES
                                                        Deputy Director
                                                        Torts Branch, Civil Division

                                                        HEATHER L. PEARLMAN
                                                        Assistant Director
                                                        Torts Branch, Civil Division

                                                        /s/ Adriana Teitel
                                                        ADRIANA TEITEL
                                                        Trial Attorney
                                                        Torts Branch, Civil Division
                                                        U.S. Department of Justice
                                                        P.O. Box 146, Benjamin Franklin Station
                                                        Washington, DC 20044-0146
                                                        Tel: (202) 616-3677


Dated: May 5, 2020




3
    Petitioner is a competent adult, therefore evidence of guardianship is not required in this case.


                                                    2
